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                                        #:3189


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       Attorneys Plaintiff and Judgment Creditor
   5   Jonathan David Parker
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   8                       UNITED STATES DISTRICT COURT
   9     CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
  10   DAVID PARKER and BIG BIRD                    CASE NO.: 8:12-cv-01994-DOC-JCG
       HOLDINGS, LLC,
  11
                     Plaintiffs,                    NOTICE OF LODGING OF
  12   vs.                                          AMENDED APPLICATION FOR
                                                    RENEWAL OF JUDGMENT BY
  13   ALEXANDER MARINE CO., LTD.,                  CLERK
  14                 Defendant.                     [NO HEARING SCHEDULED]
  15

  16           PLEASE TAKE NOTICE THAT, Plaintiff and Judgment Creditor
  17   Jonathan David Parker is lodging with this Court the Amended Application for
  18   Renewal of Judgment by Clerk.
  19
  20    Dated: February 3, 2025                   DAVIS LAW OFFICE
  21
                                                  By:   /s/ D. Jason Davis
  22                                                 D. Jason Davis, Esq.
                                                  Attorneys for Plaintiff and Judgment
  23                                              Creditor Jonathan David Parker
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             NOTICE OF LODGING OF AMENDED APPLICATION FOR RENEWAL OF JUDGMENT BY CLERK
Case 8:12-cv-01994-DOC-JCG     Document 228     Filed 02/03/25   Page 2 of 2 Page ID
                                    #:3190


   1                           CERTIFICATE OF SERVICE
   2
              I certify that on February 3, 2025, I electronically filed the foregoing
   3   NOTICE OF LODGING OF AMENDED APPLICATION FOR RENEWAL OF
   4   JUDGMENT BY CLERK with the Clerk of the Court for the United States District
       Court, Central District of California, by using the CM/ECF system. Participants in
   5   the case who are registered CM/ECF users will be served by the CM/ECF system.
   6

   7

   8   Dated: February 3, 2025                DAVIS LAW OFFICE
   9
                                              By:   /s/ D. Jason Davis
  10                                             D. Jason Davis, Esq.
                                              Attorneys for Plaintiff and Judgment
  11                                          Creditor Jonathan David Parker
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          NOTICE OF LODGING OF AMENDED APPLICATION FOR RENEWAL OF JUDGMENT BY CLERK
